Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 1 of 7 PageID: 19
Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 2 of 7 PageID: 20
Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 3 of 7 PageID: 21
Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 4 of 7 PageID: 22
Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 5 of 7 PageID: 23
Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 6 of 7 PageID: 24
Case 2:98-cr-00142-BRM   Document 67   Filed 06/03/10   Page 7 of 7 PageID: 25
